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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

Liz Gomez, Marissa Sanchez,                      §
Felicia McKinney, Jacquelyn Aluotto,             §
and Jassmine Huff,                               §
       Plaintiffs                                §
                                                 §
v.                                               §      Civil Action No.4:21-cv-01698
                                                 §
Harris County, Texas;                            §      (Jury Demanded)
Alan Rosen, in his individual capacity,          §
Chris Gore, in his individual capacity,          §
Shane Rigdon, in his individual capacity         §
                                                 §
      Defendants                                 §

NOTICE OF PARTIAL VOLUNTARY DISMISSAL AS TO DEFENDANTS
   GORE AND RIGDON, INDIVIDUALLY, PURSUANT TO F.R.C.P.
                        41(a)(1)(A)

TO THE HONORABLE JUDGE OF SAID COURT:

      Pursuant to Federal Civil Rule of Procedure 41(a)(1)(A) Plaintiffs and their counsel

hereby give notice that the above-styled action is voluntarily dismissed as to Defendants

Chris Gore in his individual capacity and Shane Rigdon in his individual capacity only.

      Date: January 14, 2022

                                           Respectfully submitted,

                                           THE AKERS FIRM, PLLC

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                                         MARISSA SANCHEZ


                            CERTIFICATE OF SERVICE

      I hereby certify that on January 14, 2022, I electronically filed the foregoing

document with using the CM/ECF system, and a copy of this filing has been forwarded to

all counsel of record in accordance with the ECF local rules.

                                         /s/ William R. Ogden
                                         William R. Ogden
